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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF VERMONT
________________________________________________________________________

JONATHAN A. BLOOM,

                               Plaintiff,

       v.                                                      Civil No. 5:16-cv-121

ALEX AZAR,
Secretary of the U.S. Department of Health
and Human Services,

                        Defendant.
______________________________________________________________________________

                                   JOINT MOTION TO STAY

       Dr. Bloom and the Secretary (collectively, “the parties”) jointly move the Court for an

Order staying further briefing and proceedings until thirty (30) days after the Second Circuit’s

decision on the appealed jurisdictional issue. A stay at this time is in the interest of judicial

economy and overall efficiency in this case. The time to file supplemental memoranda will

resume running two business days after the date that the Second Circuit issues the mandate.

       In its decision of January 29, 2018, the Court dismissed two of Dr. Bloom’s claims on the

grounds of lack of jurisdiction while at the same time ruling for Dr. Bloom on the third and final

claim. Dr. Bloom filed a motion for fees and costs under the Equal Access to Justice Act,

(“EAJA”), 28 U.S.C. 2412, on March 1, 2018. Dr. Bloom subsequently filed a motion to alter or

amend the decision dismissing the claims and this Court denied that motion on May, 15, 2018.

On August 13, 2018, Dr, Bloom appealed the dismissal.

       On January 16, 2019, the Court issued an opinion finding that Dr. Bloom was entitled to

fees under EAJA. However, the Court stopped short of deciding the amount of the fees and

ordered further briefing on the amount and reasonableness of the fees claimed. In particular, the


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Court held that the degree of success is a “crucial” factor in determining the amount of fees that

should be awarded under EAJA, noted that some of Dr. Bloom’s claims had been dismissed, and

also noted that the amount of fees was the subject of dispute. The Court’s Order gave the

Secretary fourteen (14) days to file additional briefing on the reasonableness and amount of fees

and gave Dr. Bloom the opportunity to respond fourteen (14) days thereafter.

       That same day, the Court granted the Secretary’s unopposed motion to stay all deadlines

and authorized extension of the deadlines commensurate with the lapse in appropriations. The

lapse in appropriations that began at midnight on December 21, 2018 ended in the evening hours

of January 25, 2019 with a continuing resolution funding the Department of Justice through

February 15, 2019. The Secretary filed a Notice, requested the lifting of the stay, and confirmed

the due-date for the Secretary’s supplemental memorandum as February 8, 2019.

       The parties believe that a stay would be appropriate so that, ultimately, if necessary, a

single round of briefing can resolve the fees issue. Specifically, if the amount of fees is decided

now (with one degree of success) and the Second Circuit decides in Dr. Bloom’s favor on the

jurisdiction issue (thus, changing the degree of success), then the amount of fees would have to

be revisited. As a result, the parties would have to prepare two rounds of briefs and the Court

would have to address the issue twice.

       Alternatively, if briefing and proceedings are stayed until after the Second Circuit

decides, then the parties can brief the issues knowing the degree of success and the Court will

only have to visit this issue a single time. Further, the parties continue to amicably discuss the

issues and it is possible that agreement as to fees may be reached after the Second Circuit

decides, thereby obviating further action by this Court.




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       Accordingly, the parties jointly request a stay of the supplemental briefing and any

further decision on the EAJA petition so that the Secretary’s briefing is not due until thirty (30)

days after the Second Circuit’s decision on the appeal, with any responsive briefing from Dr.

Bloom due fourteen (14) days thereafter. The time to file supplemental memoranda will resume

running two business days after the date that the Second Circuit issues the mandate.

       Date: January 31, 2019                         Respectfully submitted,


                                              By:     /s/ Debra M. Parrish
                                                      Debra M. Parrish, Esq. (pro hac vice)
                                                      Bridget M. Noonan, Esq. (pro hac vice)
                                                      PARRISH LAW OFFICES
                                                      788 Washington Road
                                                      Pittsburgh, PA 15228
                                                      debbie@dparrishlaw.com
                                                      bridget@dparrishlaw.com

                                              By:     /s/ Craig S. Nolan
                                                      Craig S. Nolan, Esq.
                                                      SHEEHEY FURLONG & BEHM P.C.
                                                      30 Main Street, 6th Floor
                                                      P.O. Box 66
                                                      Burlington, VT 05402-0066
                                                      (802) 864-9891
                                                      cnolan@sheeheyvt.com

Date: January 31, 2019                                Respectfully submitted,

                                                      ALEX AZAR, Secretary
                                                      U.S. Department of Health and Human
                                                      Services

                                                      CHRISTINA E. NOLAN
                                                      United States Attorney
                                                      By: /s/ Melissa A. D. Ranaldo
                                                      MELISSA A.D. RANALDO
                                                      Assistant U.S. Attorney
                                                      P.O. Box 570
                                                      Burlington VT 05402-0570
                                                      (802) 951-6725
                                                      Melissa.Ranaldo@usdoj.gov


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